Appendix: Mrs ECF No. 37-13, PagelD.1596 Filed 10/07/24 Page 1 of 2

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CaGes23 2v212.886-$2A3886SS EC- BA S4-18 Hagsi0.889- FRedRaget. Fag¢ 5 dFited 10/07/24 Page 2 of 2

ON THIS ACCOUNT HAS BEEN UPDATED. THIS CREDITOR HAS VERIFIED TO OUR COMPANY THAT THE BALANCE IS BEING REPORTED
CORRECTLY. THE FOLLOWING FIELDS HAVE BEEN MODIFIED: *ADDITIONAL INFORMATION *DATE OF MAJOR DELINQUENCY 1ST REPORTED
*ACCOUNT HISTORY. If you have additional questions about this item please contact: CHASE CARD, PO Box 15298, Wilmington, DE 19850-5298

Phone: (800) 945-2000

JPMCB -CARD SERVICES PO Box 15298 Wilmington DE 198505298 : 8009452000

Account Number Date High Credit Credit Limit Terms Duration Terms Frequency Months Revd Activity Designator Creditor Classification
*7683 02/03/2009 $8,000 Monthly 99 Closed
Date of Last Balance ‘Amount Date of Last Actual Payment Scheduled Payment Date of 1st Dale of Last Date Maj Del. Charge Off Deferred Pay Balicon Pay Balloor Pay Date
Reported Update Amount Past Due Peyment Amount Amount Delinquency Activity 1st Rptd Amount Start Date Amount Date Closed
05/17/2023 $9,772 $9,772 11/2020 01/2021 01/2021 so772
Type of Account Type of Loan “Whose Account Indicator Portfolio Status
Charge Off Revolving Flexible Spending Credit Card Individual Account
ADDITIONAL INFORMATION:
Charged Off Account
Account Closed By Credit Grantor
Flexible Spending Credit Card
Account History with Status Codes
04/2023 03/2023 02/2023 01/2023 12/2022 11/203 40/2022 09/2022 08/2022 2022
iL L L L i L L L L
06/2022 05/2022 04/2022 03/2022 02/2022 01/20 12/2021 1 10/2021 2021
L L L L & L L L L
08/2021 07/2021 06/2021 05/2021 04/2021 03/2021 02/2021 01/2021
bs L 6 5 4 3 2 1
Historical Account Information
Balance Scheduled = {Actual Date of High Credit Amount Type of Activity
Payment Payment Last Credit Limit Past Loan Designator
Amount Amount Payment Due
04/23 | No Data Available
03/23 | No Data Available
02/23 | No Data Available
01/23 | No Data Available
12/22 | No Data Available
11/22 | No Data Available
10/22 | No Data Available
(Continued On Next Page) Page 4 of 6 3124626699-EMB-0bf3010a000001f9-05172023

000009771-DISC

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